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                    IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MASSACHUSETTS
_______________________________________________

JOHN DOE,                                                     )
      Plaintiff,                                              )
                                                              )
v.                                                            )
                                                              )       No. 3:17-cv-30145-MGM
UNIVERSITY OF MASSACHUSETTS AMHERST,                          )
LOUIS B. WARD, Assistant Dean of Students,                    )
sued in his individual and official capacities, PATRICIA      )
CARDOSO-ERASE, Associate Dean of Students,                    )
sued in her individual and official capacities,               )
DEBORA D. FERREIRA, Title IX Coordinator,                     )
sued in her individual and official capacities,               )
                  Defendants.                                 )
_______________________________________________

     PLAINTIFF’S MEMORANDUM REGARDING SUPPLEMENTAL AUTHORITY

       Pursuant to the Court Order of June 19, 2018, Plaintiff submits this Supplemental Authority

Memorandum. In John Doe. v. Trustees of Boston College, No. 16-2290, 2018 WL 2752608 (1st

Cir. June 8, 2018), a graduate of Boston College and his parents sued the University for breach of

contract, violation of Title IX, and tort claims. The First Circuit affirmed in part and reversed in

part the district court’s grant of summary judgment for the defendants and remanded for further

proceedings. In so doing, the First Circuit provided guidance on two issues in this case.1

       First, with respect to the Title IX “deliberate indifference” claim, the First Circuit referred

to decisions by the Sixth and Second Circuits, which, while applying slightly different pleading

standards, recognized that a pleading alleging that a university has bowed to campus-wide

criticism or outside pressure in implementing a gender-biased student conduct system survives a

motion to dismiss. Slip Op. at 42-43 n.12 & 13 (attached to Doc. 65), citing Doe v. Miami Univ.,

1The Defendants here referred to the district court’s Boston College decision in their Opposition to
Plaintiff’s Motion for Temporary Restraining Order and Preliminary Injunction. (Doc. 19 at 17). In his
Amended Reply Memorandum in Support of Motion for Temporary Restraining Order and Preliminary
Injunction, Plaintiff pointed out that “[a] decision from the First Circuit is pending” on the appeal of
the district court’s decision. (Doc. 29 at 17 n.10).


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882 F.3d 579, 588, 592-94 (6th Cir. 2018) (holding complaint alleging university “faced external

pressure” from DOE to be more vigorous in combating sexual assaults against women, as well as

lawsuits and statistical evidence suggesting a pattern of gender-biased decision making, contained

“sufficient factual matter, accepted as true, to ‘state a claim to relief that is plausible on its face’”);

Doe v. Columbia Univ., 831 F.3d 46, 56 (2d Cir. 2016) (holding complaint alleging university was

motivated to favor female accuser over accused male student due to media and campus criticism

that the university did not take complaints of sexual assaults of women seriously was adequate to

“support a minimal plausible inference” of gender bias). The Court found that the Boston College

plaintiffs did not present sufficient evidence that University administrators were “motivated by

gender bias” to survive the defendants’ summary judgment motion. Slip. Op. at 50.2 Instead, the

plaintiffs presented only “conclusory allegations” of gender bias based on the “tone” of University

administrators, generic concerns about OCR’s 2011 Dear Colleague Letter, and a perception the

University presumed Doe’s guilt. Id. at 26-27, 44-47. The Court concluded that, even after

“substantial discovery,” there was a “complete lack of evidence” showing the college’s actions

were motivated by gender bias. Id. at 47.

        Unlike the “conclusory allegations” in Boston College, John’s complaint presents factual

assertions that the University’s “comprehensive revision” to its Title IX procedures in response to

the 2011 Dear Colleague Letter (Compl. ¶¶ 189-198), and its subsequent reactions to outside

pressures, were motivated by gender bias:

2
 Here, John has presented two Title IX theories: (1) “[t]he University selectively enforces the Code and
Title IX policies by treating John as a male student accused of sexual misconduct less favorably than it
would treat a similarly situated female student, who would not be subjected to the same disciplinary
proceedings, which are premised on the gender-biased notion that males are invariably perpetrators and
females are invariably victims of sexual assault,” Compl. ¶ 387, and (2) “[t]he University’s policies and
procedures are based on archaic gender stereotypes and assumptions that female complainants are
invariably fragile ‘victims’ and ‘survivors’ deserving of support regardless of their credibility or the
veracity of their claims, and accused male students are ‘hegemonic male[s]’ prone to violence who are
not deserving of comparable support.” Id. ¶ 384.


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•      On May 1, 2014, the day OCR included UMass Amherst on a list of 55 schools under
       investigation, the University announced its “partnership with the Center for Women and
       Community,” whose goal was “to provide support to survivors of sexual assault ... and
       “advocacy and support services that address ... multiple oppressions experienced by
       women,” as well as to develop a training program for investigators and hearing boards that
       would adopt “trauma-informed practices.” Compl. ¶¶ 199-200, 205-206, 213-216.

•      That same day, the University’s Title IX Office announced it had adopted a “survivor-
       centered” approach to sexual misconduct investigations and hearings, under which all
       members of the University community are exhorted to “BELIEVE” and are instructed,
       “Don’t question. Don’t judge. Just believe and support.” Id. ¶¶ 198, 220, 223, 373.

•      Shortly thereafter, the University created and funded The Men and Masculinities Center,
       which claims that men who adhere to “more traditional constructions of masculinity” are
       “more likely to engage in a range of unhealthy and risky behaviors including ... [s]exual
       and relationship violence.” Id. ¶¶ 82-84, 226-230.

•      Leaving no doubt it was bowing to outside pressure, the University issued a public
       statement explaining that its “student conduct code has been revised.... We’ve been very
       concerned with this; it’s an issue here and across the country.” Id. ¶ 202. In short, the
       University responded to pressure from the government, press, and students by changing its
       policies to make it much more likely that an accused student (almost always male) would
       be found responsible for the alleged misconduct. Id. ¶¶ 374-379.

       With these concerns at the forefront, Defendants acted with deliberate indifference toward

John by imposing overly broad interim restrictions and barring him from attending graduation as a

penalty, without any finding of wrongdoing, depriving him of access to educational benefits and

causing him severe mental distress even though OCR’s guidance provides that interim restrictions

must ensure that neither the accused nor the accuser is deprived of educational opportunities. Id. ¶¶

45-57. University officials wrote to John, “you may experience feelings of anxiety and uncertainty

during this process” (id. ¶ 53), yet made no effort to promptly conclude the process. Defendants

also engaged in selective enforcement in the discriminatory imposition of interim restrictions, in

excusing Jane Roe’s delays while attacking John for even asking for an investigation, and by

informing Jane Roe of the status of proceedings while keeping John in the dark. Defendants failed

to preserve Jane’s contemporaneous text, email, and phone records, obtain other known

exculpatory evidence, or interview percipient witnesses, and issued a “gag order” preventing John


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from interviewing witnesses and collecting evidence to prepare his defense. Id. ¶¶ 35-44. In light

of these allegations, John has pleaded facts sufficient to support a reasonable inference of gender

bias. This is so even if “alternative non-discriminatory explanations for the defendants’ behavior

may exist” at this stage of the litigation. Miami Univ., 882 F.3d at 594. Here, there are no

alternative non-discriminatory explanations for the University’s incorporation of the Center for

Women and Community and The Men and Masculinities Center into the disciplinary process other

than to demonstrate it would allow its process to be driven in part by two organizations whose

agendas favored women over men.

       Defendants may argue Miami and Columbia should be disregarded because the pending

motions were purportedly briefed and argued based on Yusuf v. Vassar College, 35 F.3d 709 (2d

Cir. 2004), a Second Circuit case that pre-dated Columbia by a dozen years. Any such assertion

would be inaccurate. The Second Circuit explicitly stated its Columbia decision was consistent

with Yusuf and established no new pleading standard. 831 F.3d at 55-56. Yusuf established a

minimal pleading burden to adequately allege a Title IX claim, i.e., “Title IX bars the imposition of

university discipline where gender is a motivating factor in the decision to discipline.” 35 F.3d at

715. The complaint sustained in Yusuf alleged that the complainant brought a false accusation

because Yusef had brought a criminal complaint against her boyfriend and that male students were

invariably found guilty in the disciplinary process, id. at 716, but asserted none of the campus-wide

pressures alleged in Miami, Columbia, and here, and nothing like the University’s gender-biased

reaction to OCR’s “naming and shaming,” or the one-sided investigation and interim restrictions

that favored the female student at the expense of the male student.

       Second, while Boston College involved a breach of contract claim against a private

university where constitutional due process and 42 U.S.C. § 1983 are not implicated, the ruling




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provides guidance on “fundamental fairness” and due process in campus disciplinary proceedings.3

The First Circuit found that where, as here, a university promises to complete its investigation

within sixty days, due process and fundamental fairness, as well as it contractual obligations,

require the university to complete the process within that time period, even if delay would afford

the respondent time to obtain exculpatory forensic evidence. Slip. Op. at 24. The Court concluded

there were issues of fact whether the University breached its contractual “obligation to provide a

fundamentally fair disciplinary proceeding to Doe.” Id. at 36. Here, John has alleged the

University’s inexcusable delay of over 330 days after Jane filed her complaint to schedule a

hearing, resulting in the loss of witness availability, inevitable fading of memories, and loss of

exculpatory evidence, violated due process and has irreparably prevented any future hearing from

being fair. Compl. ¶¶ 6-32, 114-151.

Respectfully submitted,

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                                   Attorneys for Plaintiff John Doe




33Another court in this district found that the concept of “basic fairness” imposes on universities an
obligation “separate from and in addition to its contractual obligation to follow the rules it set forth in
its Handbook,” and requires a “variety of procedural protections ... many of which, in the criminal
context, are the most basic and fundamental components of due process of law.” Doe v. Brandeis Univ.,
177 F. Supp. 3d 561, 601, 603 (D. Mass. 2016).


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                                   CERTIFICATE OF SERVICE

        I hereby certify that this document filed through the ECF system will be sent electronically
to the registered participants as identified on the Notice of Electronic Filing (NEF) and paper
copies will be sent via email to those indicated as non-registered participants on June 29, 2018.

                                      /s/ Michael R. Schneider
                                      Michael R. Schneider, Esquire




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